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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

FREDRIC CALVERT : CIVIL ACTION NO.:
VERSUS
JUDGE:
LIBERTY MUTUAL FIRE
INSURANCE COMPANY, SOLARAY,
L.L.C. and CHRISTOPHER WALKER : MAGISTRATE JUDGE:

SSR OR RS

NOTICE OF REMOVAL

 

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA

&

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Dana Benson, Clerk of Court

A“ Judicial District Court

Parish of Ouchita

Post Office Box 1862

Monroe, LA 71201-1862

PLEASE TAKE NOTICE that Defendants, LIBERTY MUTUAL FIRE INSURANCE
COMPANY, SOLARAY, L.L.C. (incorrectly named in the lawsuit as Solary, L.L.C.) and
CHRISTOPHER WALKER, in accordance with 28 U.S.C. §§ 1441 and 1446, and any other

applicable law, and appearing solely for the purpose of filing this notice, reserving all rights,
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defenses, objections and claims, including insufficiency of citation, service of process, and
venue and/or forum non conveniens, hereby removes this action, which had been pending as
Civil Docket No. C-20223482, in the Fourth Judicial District Court for the Parish of
Ouachita, State of Louisiana, to the United States District Court for the Western District of
Louisiana, and respectfully avers as follows.

iL Petition for Damages

This action was originally filed by Plaintiff, Fredric Calvert, on or about September
23, 2022, in the Fourth Judicial District Court for the Parish of Ouachita, State of Louisiana,
as Civil Docket No. C-20223482, titled: Fredric Calvert v. Liberty Mutual Fire Insurance
Company, Solaray, L.L.C. and Christopher Walker. Defendant, Liberty Mutual Fire
Insurance Company, was served with a copy of the Petition on October 7, 2022. See Exhibit
“A,” including Citation and Petition for Damages.

Plaintiff alleges the following in the Petition. On or about October 12, 2021, Plaintiff
was operating his 2002 Jeep Liberty on Dr. Martin Luther King, Jr. Drive, at its intersection
with Century Boulevard, in the Parish of Ouachita, State of Louisiana. At approximately the
same time and place, Christopher Walker was operating a 2021 Chevrolet Express, with the
permission and consent of its owner, Solaray, L.L.C., on Dr. Martin Luther King, Jr. Drive,
at its intersection with Century Boulevard, immediately following the vehicle operated by
Plaintiff, when Walker struck the rear end of Plaintiff's vehicle.

Plaintiff alleges he has sustained serious injuries to his neck and back, for which

surgery was recommended, together with past and future mental anguish and physical
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suffering, past and future expenses for care and past and future lost earnings and impaired
earning capacity.
il. Basis for Jurisdiction

The United States District Court for the Western District of Louisiana presently has
diversity jurisdiction over this civil action pursuant to 28 USC § 1332.

Plaintiff is a resident of the Parish of Caldwell, State of Louisiana.

Defendant Christopher Walker is a resident of the State of Mississippi.

Defendant Liberty Mutual Fire Insurance Company is a corporation with its place of
incorporation in Wisconsin, and with a principal place of business in Massachusetts.

Defendant Solaray, L.L.C. is a limited liability company, whose sole Member is SRP
Acquisition Inc. SRP Acquisition Inc. is a corporation with its place of incorporation in
Delaware, and with a principal place of business in Colorado.

The jurisdictional amount in controversy is expected to exceed $75,000.00, based
upon Plaintiffs allegation he has sustained “serious injuries,” his claim for past, present and
future loss of earnings and impaired earning capacity, and his allegation that his damages
exceed $50,000.00, exclusive of interest and costs.

Pursuant to 28 U.S.C. §§ 1441, 1446 and 98, this action may be removed to this
Court, as it is the District Court for the district and division within which this action is

pending.
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Ui. Removal Is Timely

Defendant Liberty Mutual Fire Insurance Company was served with this Petition for
Damages through the Secretary of State on October 7, 2022. See Exhibit “A.” Accordingly,
this Notice of Removal is timely filed within thirty (30) days after the service on Liberty
Mutual Fire Insurance Company of the copy of the initial pleading setting forth the claim for
relief upon which this action is based. See 28 U.S.C. §1446(b); Murphy Bros., Ine. v.
Michetti Pipe Stringing, Ince.526 U.S. 344, 347-48 (1999).

The dates of service of the Petition for Damages upon Defendants Christopher Walker
and Solaray, L.L.C. are unknown at this time. However, all Defendants named in this lawsuit
consent to the removal of this action.

iV. Pleadings and Process

 

Pursuant to 28 U.S.C. §1446(a), a copy of all process, pleadings and orders received
by the removing defendant is attached hereto as Exhibit “A,” in globe. Pursuant to 28 U.S.C.
§1446(d), Defendants are filing written notice of this removal with the Clerk of the State
Court in which the action is currently pending. See Exhibit “B.” Copies of the Notice of
Filing of Removal together with this Notice of Removal are being served upon Plaintiff's
counsel, pursuant to 28 U.S.C. §1446(d).
V. Attached Exhibits

In support of this Notice of Removal, Defendants attach herewith the following

Exhibits:
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Exhibit “A”: Petition for Damages, which is the only process, pleading and/or order
received by the removing Defendants, along with Citation to Liberty Mutual Fire
Insurance Company;

Exhibit “B”: The Notice of Filing of Removal with this Notice of Removal attached
thereto being served on Plaintiff and filed with the Clerk of Court for the Parish of
Ouachita, State of Louisiana, pursuant to 28 U.S.C. §1446(d).

Consent of All Defendants

All Defendants consent to, and join in, the removal of this action.

WHEREFORE, Defendants, LIBERTY MUTUAL FIRE INSURANCE

COMPANY, SOLARAY, L.L.C. and CHRISTOPHER WALKER, pray that the above

numbered and entitled cause on the docket of the 4" Judicial District Court for the Parish of

Ouachita, State of Louisiana, be removed from that Court to the docket of the United States

District Court for the Western District of Louisiana, and request that this Honorable Court

assume jurisdiction over this matter. Defendants further pray for such other and further relief

as may be just and equitable under the circumstances.
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Respectfully submitted,

DAIGLE & ASSOCIATES LLC

BY: IS my - wy Jl

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COUNSEL FOR LIBERTY MUTUAL FIRE
INSURANCE COMPANY, SOLARAY, L.L.C. and
CHRISTOPHER WALKER
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the above and foregoing has this date been filed
electronically; that the Electronic Case Filing system will e-mail a Notice of Electronic Filing
to all counsel of record. I further certify that I have, on this date, served a copy of this
pleading on opposing counsel via U.S. mail, properly addressed and first class postage pre-
paid.

Lafayette, Louisiana, this 31° day of October, 2022.

Kyi W-ManpS\

KRISTEN H. BAYARD

  

 
